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                       IN THE DISTRICT COURT OF THE UNITED STATES
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )
                                             )
                  v.                         )       MISC. NO. 2:18-MC-3835-MHT
                                             )
MAX CREDIT UNION,                            )
                                             )
                                             )
                          Garnishee,         )
                                             )
CYNTHIA QUINNIE,                             )
                                             )
                         Defendant.          )


                  MOTION FOR ENTRY OF FINAL DISPOSITION ORDER

       COMES NOW the United States of America, by and through Louis V. Franklin, Sr.,

United States Attorney for the Middle District of Alabama, and files this Motion for Entry of

Final Disposition Order and in support provides the following:

       1.      Pursuant to 28 U.S.C. § 3205(b)(1), Plaintiff filed an Application for Writ of

Garnishment on September 11, 2018 (Doc. 1). Said Writ of Garnishment was issued on

September 14, 2018 (Doc. 2). Same was served on Defendant and Garnishee by the U.S.

Marshals Service. (Docs. 3, 4).

       2.      Garnishee answered the writ on September 20, 2018. (Doc. 5). There was no

request for a hearing from the Defendant.

       3.      The non-exempt funds are currently being held by Garnishee awaiting direction

from the Court.
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       4.       Pursuant to 28 U.S.C. § 3205(c)(7), the court shall promptly enter an order

directing the garnishee as to the disposition of the defendant’s nonexempt interest in the

property.

       WHEREFORE, the undersigned requests the Court to enter an order directing Garnishee

to turn over the funds held in the accounts identified in Garnishee’s Answer to be paid directly to

the Clerk of Court to be applied towards Defendant’s outstanding restitution balance.

       Respectfully submitted this the 16th day of May, 2019.

                                               LOUIS V. FRANKLIN, SR.
                                               United States Attorney




                                         By: /s/James J. DuBois
                                              JAMES J. DUBOIS
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2019, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, and mailed, by United States Postal Service, a copy of

same to the following non-CM/ECF participant(s):

        Ms. Cynthia Quinnie
        1052 Countryside Lane
        Montgomery, AL 36117

        Max Credit Union
        P.O. Box 17930
        Montgomery, AL 36193



                                                     /s/James J. DuBois
                                                     Assistant United States Attorney
